                                        Case 3:19-cv-04613-WHA Document 81 Filed 01/26/21 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   EASTON STOKES,
                                  11                  Plaintiff,                                          No. C 19-04613 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   UNITED STATES DEPARTMENT OF JUSTICE,                               ORDER RE
                                       WILLIAM BARR, individually and as Attorney General                 SUPPLEMENTAL
                                  14                                                                      BRIEFING
                                       of the United States, THE U.S. BUREAU OF
                                  15   ALCOHOL, TOBACCO, FIREARMS AND
                                       EXPLOSIVES (ATF), REGINA LOMARDO,
                                  16   individually and as Acting Director of ATF, THE
                                       FEDERAL BUREAU OF INVESTIGATION,
                                  17   CHRISTOPHER WRAY, individually and as Director of
                                  18   the Federal Bureau of Investigation, STATE OF
                                       CALIFORNIA, XAVIER BECERRA, individually and
                                  19   acting as Attorney General of the State of California, and
                                       THE SONOMA COUNTY SHERIFF’S OFFICE,
                                  20   MARK ESSICK, individually and as Sheriff of Sonoma
                                       County,
                                  21
                                                      Defendants.
                                  22

                                  23

                                  24        Because plaintiff’s complaint brings claims for equal protection and due process in
                                  25   addition to the Second Amendment claim, the upcoming supplemental briefing should also
                                  26   include citations to relevant authorities concerning those claims. Such briefing is in addition to
                                  27   and not in lieu of items which necessitated the request for supplemental briefing in the first
                                  28   instance, such as the inclusion of medical records and evidence — in particular, the true state
                                        Case 3:19-cv-04613-WHA Document 81 Filed 01/26/21 Page 2 of 2




                                   1   of facts surrounding plaintiff’s commitment at Oakcrest — any developments in state-court,

                                   2   and how the completed record affects the analysis.

                                   3        IT IS SO ORDERED.

                                   4   Dated: January 26, 2021.

                                   5

                                   6
                                                                                            WILLIAM ALSUP
                                   7                                                        UNITED STATES DISTRICT JUDGE
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                     2
